                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re
                                                                  Chapter 15
    POINT INVESTMENTS, LTD.
    (IN LIQUIDATION), 1
                                                                  Case No. 22-10261-JKS
                         Debtor in a Foreign Proceeding.



                                        STATUS REPORT


            Andrew Childe and Richard Lewis of FFP Limited, and Mathew Clingerman of Krys &

Associates (Bermuda) Ltd. (the “Foreign Representatives”), in their capacity as the duly-appointed

Joint Provisional Liquidators and foreign representatives of Point Investments, Ltd. (the “Debtor”),

report that, on July 26, 2022, the Foreign Representatives filed an application with the Swiss

Financial Market Supervisory Authority. The application seeks: (i) recognition of the order, dated

February 18, 2022, of the Supreme Court of Bermuda, Commercial Court that, among other things,

ordered the winding up of the Debtor (the “Winding Up Order”); (ii) authorization for the Foreign

Representatives to undertake all steps necessary for the recognition and enforcement of the

Winding Up Order in Switzerland; (iii) authorization for the Foreign Representatives to assert in

Switzerland the rights of the Debtor; and (iv) a declaration that the Winding Up Order is

immediately enforceable.




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 The Debtor is a Bermuda exempted company registered with the Registrar of Companies in
Bermuda under registration number 43769. The Debtor’s registered office is located at Chancery
Hall, 1st Floor, 52 Reid Street, Hamilton HM 12, Bermuda.
Dated: July 29, 2022

Wilmington, Delaware
                       Respectfully submitted,

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